Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 1 of 11
     USCA11 Case: 22-13811 Document: 47-1 Date Filed: 08/21/2023 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

   David J. Smith                                                                      For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                            August 21, 2023
                                                                                                     JE
    Clerk - Southern District of Florida
    U.S. District Court
    400 N MIAMI AVE                                                                 Aug 21, 2023
    MIAMI, FL 33128-1810

    Appeal Number: 22-13811-CC
                                                                                                         MIAMI

    Case Style: Securities and Exchange Commission v. Joseph Barleta
    District Court Docket No: 9:20-cv-81205-RAR

    A copy of this letter, and the judgment form if noted above, but not a copy of the court's
    decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
    was previously forwarded to counsel and pro se parties on the date it was issued.

    The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
    was previously provided on the date of issuance.

    Clerk's Office Phone Numbers
    General Information: 404-335-6100          Attorney Admissions:         404-335-6122
    Case Administration: 404-335-6135          Capital Cases:               404-335-6200
    CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




    Enclosure(s)
                                                                        MDT-1 Letter Issuing Mandate
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 2 of 11
     USCA11 Case: 22-13811 Document: 47-2 Date Filed: 08/21/2023 Page: 1 of 2




                                      In the
                     United States Court of Appeals
                            For the Eleventh Circuit
                              ____________________

                                   No. 22-13811
                              ____________________

            SECURITIES AND EXCHANGE COMMISSION,
                                                       Plaintiﬀ-Appellee,
            versus
            COMPLETE BUSINESS SOLUTIONS GROUP, INC.
            d.b.a. Par Funding, et al.,


                                                            Defendants,


            JOSEPH COLE BARLETA,
            a.k.a. Joe Cole,


                                                   Defendant-Appellant.
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 3 of 11
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            2                                                         22-13811

                                ____________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                         D.C. Docket No. 9:20-cv-81205-RAR
                               ____________________

                                      JUDGMENT
            It is hereby ordered, adjudged, and decreed that the opinion is-
            sued on this date in this appeal is entered as the judgment of this
            Court.
                                  Entered: June 27, 2023
                      For the Court: DAVID J. SMITH, Clerk of Court

           ISSUED AS MANDATE: August 21, 2023
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 4 of 11
     USCA11 Case: 22-13811 Document: 45-1 Date Filed: 06/27/2023 Page: 1 of 6




                                                   [DO NOT PUBLISH]
                                      In the
                     United States Court of Appeals
                            For the Eleventh Circuit
                              ____________________

                                   No. 22-13811
                              Non-Argument Calendar
                              ____________________

            SECURITIES AND EXCHANGE COMMISSION,
                                                       Plaintiﬀ-Appellee,
            versus
            COMPLETE BUSINESS SOLUTIONS GROUP, INC.
            d.b.a. Par Funding, et al.,


                                                            Defendants,


            JOSEPH COLE BARLETA,
            a.k.a. Joe Cole,


                                                   Defendant-Appellant.
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            2                      Opinion of the Court                22-13811

                                 ____________________

                       Appeal from the United States District Court
                           for the Southern District of Florida
                          D.C. Docket No. 9:20-cv-81205-RAR
                                ____________________

            Before NEWSOM, LAGOA, and BRASHER, Circuit Judges.
            PER CURIAM:
                   This appeal arises out of a civil action that the SEC brought
            against Complete Business Solutions Group and its officers for sell-
            ing unregistered securities. After discovery, the defendant offic-
            ers—including Joe Cole—consented to a judgment of liability and
            the issuance of a permanent injunction, with corresponding dam-
            ages to be determined at a later hearing. By agreement in the Con-
            sent Judgment, the district court was to take all allegations in the
            Amended Complaint as true in that later hearing.
                   After an evidentiary hearing, the district court entered final
            judgment against Cole, ordering disgorgement of profits and other
            civil penalties. Cole appealed that judgment against him, raising
            three issues. We’ll address each in turn. For the reasons explained
            below, we affirm the district court’s judgment on all counts.
                                              I
                  Cole first contends that we should go back to the beginning
            and dismiss the Amended Complaint on constitutional grounds—
            namely, that the SEC conducted an illegal search by basing its
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 6 of 11
     USCA11 Case: 22-13811 Document: 45-1 Date Filed: 06/27/2023 Page: 3 of 6




            22-13811               Opinion of the Court                          3

            investigation of CBSG on information provided by a private third
            party that Cole contends should be considered a state actor.
                   We need not reach the merits of this claim because Cole
            consented to judgment as to liability and waived any appeal from
            the entry of that judgment. “As a general rule, a party has no stand-
            ing to appeal an order or judgment to which he consented.” Hof-
            mann v. De Marchena Kaluche & Asociados, 657 F.3d 1184, 1187 (11th
            Cir. 2011). Accordingly, Cole cannot now challenge the district
            court’s denial of his motion to dismiss.
                                              II
                   Cole next presents two arguments arising out of the dam-
            ages phase of this case. Cole claims (1) that so-called “[t]hird-tier”
            penalties were not appropriate because he lacked the necessary sci-
            enter and (2) that his salary and related taxes should have been de-
            ducted from any disgorgement amount pursuant to Liu v. SEC, 140
            S. Ct. 1936 (2020). We review a district court’s imposition of rem-
            edies for abuse of discretion. SEC v. Calvo, 378 F.3d 1211, 1216–17
            (11th Cir. 2004) (per curiam). We disagree with Cole on both
            counts.
                   First, the district court acted within its discretion in impos-
            ing third-tier penalties against Cole. Third-tier penalties—the most
            severe category of civil penalties available—are allowed when “[1]
            the violation . . . involved fraud, deceit, manipulation, or deliberate
            or reckless disregard of a regulatory requirement; and . . . [2] such
            violation directly or indirectly resulted in substantial losses or cre-
            ated a significant risk of substantial losses to other persons.” 15
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 7 of 11
     USCA11 Case: 22-13811 Document: 45-1 Date Filed: 06/27/2023 Page: 4 of 6




            4                         Opinion of the Court                       22-13811

            U.S.C. § 78u(d)(3)(B)(iii)(aa)–(bb) (enumeration added). Cole as-
            serts that neither condition is satisfied.
                    Cole first contends that he lacked the requisite scienter for
            “fraud, deceit, [or] manipulation” or acting with “deliberate or
            reckless disregard” of the securities requirements.1 The district
            court concluded that the SEC “set forth sufficient facts, accepted as
            true, to support a finding of scienter as to Cole.” The Amended
            Complaint is “replete with examples of Cole’s scienter.” 2 In one
            example on which the district court specifically relied—the details
            of which the parties will understand—“Cole actively assisted in
            concealing LaForte’s criminal background by ‘providing LaForte
            with a Par Funding email address bearing the name of his alias,
            joemack@parfunding.com, and a Par Funding business card for his
            alias, Joe Macki.’” Because there was adequate evidence of scienter
            available from the Amended Complaint and the evidentiary hear-
            ing,3 the district court did not abuse its discretion in determining
            that Cole satisfied the scienter requirement of § 78u(d)(3)(B).


            1 Cole “admitted to selling unregistered securities and making a litany of seri-

            ous misrepresentations to investors in violation of the antifraud provisions of
            the Securities Act and the Exchange Act.” So his position on appeal is narrow,
            contesting only his scienter underlying those actions.
            2 The allegations in the Amended Complaint “shall be accepted as and deemed

            true by the [district c]ourt” for purposes of a motion for disgorgement or civil
            penalty—the stage of the case in question.
            3 The district court also relied on allegations in the Amended Complaint that

            “Cole signed an Amended Form D on behalf of Par Funding” that “falsely
            stated that none of the gross proceeds of the offering would be used for
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            22-13811                 Opinion of the Court                              5

                    Cole further argues that his actions did not result in “sub-
            stantial losses.” But that’s not the whole statutory requirement.
            Section 78u(d)(3)(B)(iii)(bb) also contemplates “creat[ing] a signifi-
            cant risk of substantial losses.” Par Funding’s profitability is not
            sufficient to disprove a risk of substantial losses. The district court
            did not abuse its discretion in concluding, based on the evidence,
            that Cole’s actions had created a significant risk of loss. Accord-
            ingly, third-tier penalties were an appropriate remedy.
                    That brings us to Cole’s second damages-related argu-
            ment—that the district court should have deducted his salary and
            related taxes from the disgorgement amount. The district court
            acted within its discretion in declining Cole’s proposed disgorge-
            ment deductions. Courts must restrict disgorgement awards to
            “net profits from wrongdoing after deducting legitimate expenses.”
            Liu, 140 S. Ct. at 1946. That includes deducting “legitimate ex-
            penses,” which are “marginal costs incurred in producing the reve-
            nues that are subject to disgorgement.” Id. at 1950. But when the
            “entire profit of a business or undertaking results from the wrong-
            ful activity,” id. at 1945 (quotation omitted), a court can deny de-
            ductions that would enrich the beneficiary of the ill-gotten gains.
                  The district court provided a thorough accounting of Cole’s
            ownership interests in and disbursements from each company in
            question. It concluded that Cole’s salary—and related taxes that he
            paid—came from the company engaged in securities fraud as

            payments to executive officers or others listed as related persons, including
            himself.”
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            6                      Opinion of the Court                  22-13811

            payment for services which furthered that fraud. As the district
            court put it, there “personal services” charges are “merely wrong-
            ful gains under another name.” The district court’s decision to
            deny Cole’s proposed disgorgement deductions was based on the
            Amended Complaint, the SEC’s expert report, and the court-ap-
            pointed receiver’s “analysis of the books and records.” Cole’s as-
            sertions that the district court issued a blanket rejection of deduc-
            tions without considering the evidence is unfounded. And the dis-
            trict court permitted some salary and tax deductions for the other
            defendants, further undermining Cole’s contention.
                  Because the district court’s conclusion was grounded in fact,
            we hold that it did not abuse its discretion in denying Cole’s request
            to deduct his salary and taxes from the disgorgement amount.
                                           * * *
                    For those reasons, we hold that Cole cannot challenge the
            district court’s denial of his motion to dismiss. We further hold
            that the district court did not abuse its discretion in awarding third-
            tier penalties or in declining to deduct Cole’s salary and taxes from
            the disgorgement amount.
                   AFFIRMED.
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     USCA11 Case: 22-13811 Document: 45-2 Date Filed: 06/27/2023 Page: 1 of 2


                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

    David J. Smith                                                                      For rules and forms visit
    Clerk of Court                                                                      www.ca11.uscourts.gov


                                              June 27, 2023

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 22-13811-CC
    Case Style: Securities and Exchange Commission v. Joseph Barleta
    District Court Docket No: 9:20-cv-81205-RAR

    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website.
    Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
    entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
    FRAP 41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.

    Pursuant to Fed.R.App.P. 39, costs taxed against appellant.
Case 9:20-cv-81205-RAR Document 1669 Entered on FLSD Docket 08/21/2023 Page 11 of 11
     USCA11 Case: 22-13811 Document: 45-2 Date Filed: 06/27/2023 Page: 2 of 2



    Please use the most recent version of the Bill of Costs form available on the court's website at
    www.ca11.uscourts.gov.

    Clerk's Office Phone Numbers
    General Information: 404-335-6100          Attorney Admissions:         404-335-6122
    Case Administration: 404-335-6135          Capital Cases:               404-335-6200
    CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                           OPIN-1A Issuance of Opinion With Costs
